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                         UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION                                            ENTERED
                                                                                             07/24/2019
IN RE:                                          §
MICHAEL VEACH; dba GLOBAL SLEEP                 §      CASE NO: 19-31275
TECHNOLOGIES; dba GLOBAL SLEEP                  §
HEADQUARTERS, LP; dba ARM                       §
ASSOCIATES, LP; dba EMBLEM                      §
RESOURCES, LLC; dba EMBLEM GROUP,               §
LLC, et al                                      §
        Debtor(s)                               §
                                                §      CHAPTER 7

                    ORDER DENYING APPLICATION TO EMPLOY

       This matter is before the Court on the Application to Employ (ECF No. 40) filed by the

Chapter 7 Trustee. The movant has failed to serve the instant application on all required parties

pursuant to Bankruptcy Local Rule 9013-1.

       THEREFORE, IT IS ORDERED that the Application to Employ is denied without

prejudice.


       SIGNED: 07/24/2019.


                                                ___________________________________
                                                Jeffrey P. Norman
                                                United States Bankruptcy Judge




1/1
                     Case 19-31275 Document 44 Filed in TXSB on 07/26/19 Page 2 of 2
                                               United States Bankruptcy Court
                                                Southern District of Texas
In re:                                                                                                     Case No. 19-31275-jpn
Michael Veach                                                                                              Chapter 7
Carla Veach
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0541-4                  User: mrios                        Page 1 of 1                          Date Rcvd: Jul 24, 2019
                                      Form ID: pdf002                    Total Noticed: 7


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 26, 2019.
db/jdb         +Michael Veach,   Carla Veach,    8615 Cape Royal Dr.,   Cypress, TX 77433-6684
cr              American Express National Bank,    c/o Becket and Lee LLP,   PO Box 3001,
                 Malvern, PA 19355-0701
cr              Kohl’s,   c/o Becket and Lee LLP,    PO Box 3001,   Malvern, PA 19355-0701
cr             +Midfirst Bank,   c/o BDFTE, LLP,    4004 Belt Line Rd Ste. 100,   Addison, TX 75001-4320
cr             +TRUSTMARK NATIONAL BANK,   14604 Northwest Freeway,    Houston, TX 77040-4031
cr             +Wells Fargo Bank, N.A.,   c/o BDFTE, LLP,    4004 Belt Line Rd Ste. 100,
                 Addison, TX 75001-4320

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
cr             +E-mail/PDF: PRA_BK2_CASE_UPDATE@portfoliorecovery.com Jul 24 2019 23:02:35
                 PRA Receivables Management, LLC,   PO Box 41021,   Norfolk, VA 23541-1021
                                                                                            TOTAL: 1

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 26, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 24, 2019 at the address(es) listed below:
              Abbey U. Dreher    on behalf of Creditor    Wells Fargo Bank, N.A. sdecf@BDFGROUP.com
              Abbey U. Dreher    on behalf of Creditor    Midfirst Bank sdecf@BDFGROUP.com
              Donald L Turbyfill    on behalf of Creditor    TRUSTMARK NATIONAL BANK dturbyfill@dntlaw.com,
               ardell@dntlaw.com;jody@dntlaw.com
              Mitchell J. Buchman    on behalf of Creditor    Wells Fargo Bank, N.A. sdecf@bdfgroup.com
              Mitchell J. Buchman    on behalf of Creditor    Midfirst Bank sdecf@bdfgroup.com
              Randy W Williams    rww@bymanlaw.com,
               rw13@trustesolutions.com;rw13@trustesolutions.net;rw11@trustesolutions.net;rww.trustee1@gmail.com
              Reese W Baker    on behalf of Debtor Michael Veach courtdocs@bakerassociates.net,
               i.go@bakerassociates.net;igotnotices@gmail.com;courtdocsrbaker@gmail.com;courtdocsstaylor@gmail.c
               om;reese.baker@bakerassociates.net;bakernotices@gmail.com;baker5151calendar@gmail.com;staff@baker
               associates.net;igo&#0
              Reese W Baker    on behalf of Joint Debtor Carla Veach courtdocs@bakerassociates.net,
               i.go@bakerassociates.net;igotnotices@gmail.com;courtdocsrbaker@gmail.com;courtdocsstaylor@gmail.c
               om;reese.baker@bakerassociates.net;bakernotices@gmail.com;baker5151calendar@gmail.com;staff@baker
               associates.net;igo&#0
              Sonya Lynn Kapp    on behalf of Debtor Michael Veach sonya.kapp@bakerassociates.net,
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               sociates.net
              Sonya Lynn Kapp    on behalf of Joint Debtor Carla Veach sonya.kapp@bakerassociates.net,
               courtdocs@bakerassociates.net;i.go@bakerassociates.net;igotnotices@gmail.com;courtdocsrbaker@gmai
               l.com;courtdocsstaylor@gmail.com;bakernotices@gmail.com;baker5151calendar@gmail.com;staff@bakeras
               sociates.net
              US Trustee    USTPRegion07.HU.ECF@USDOJ.GOV
                                                                                               TOTAL: 11
